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U.S. Court of Appeals No. 23-55739

        IN THE UNITED STATES COURT OF APPEALS FOR THE
                        NINTH CIRCUIT


                    JOHN BRANDSTETTER, an individual,
                            Plaintiff-Appellant,
                                      v.
                        CITY OF RIVERSIDE, et al.,
                           Defendants-Appellees.

       ON APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF CALIFORNIA,
                CASE NO. 5:20-CV-01866-FLA (SHKX)
        HON. FERNANDO L. AENLLE-ROCHA, DISTRICT JUDGE


                    APPELLEES’ ANSWERING BRIEF


      OFFICE OF THE CITY ATTORNEY – City of Riverside
      Phaedra A. Norton, City Attorney (Bar No. 200271)
      Rebecca L. McKee-Reimbold, Assistant City Attorney (Bar No.
      279485)
      Cecilia Rojas, Deputy City Attorney (Bar No. 340468)
      Jacob J. Castrejon, Deputy City Attorney (Bar No. 348066)

      3750 University Avenue, Suite 250
      Riverside, CA 92501
      Phone: (951) 826-5567
      Fax: (951) 826-5540

      Attorneys for Defendants-Appellees
      CITY OF RIVERSIDE, et al.




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                     APPELLEE’S RESPONDING BRIEF

                          SUMMARY OF ARGUMENT

      Appellant John Brandstetter (“Appellant”) filed an action for 42 U.S.C. §

1983 for an unconstitutional search and seizure in violation of Plaintiff’s Fourth

Amendment rights, (2) injunctive relief pursuant to 42 U.S.C. § 1983, and (3)

damages and injunctive relief pursuant to California law against Appellees City of

Riverside (the “City”), Riverside Police Department Chief Larry Gonzalez (“Chief

Gonzalez”), Riverside Police Department Detective Jolynn Turner (“Detective

Turner”), and Riverside Police Department (collectively “Appellees”).

      Appellant allowed a third party, Kevin Gleason (“Gleason”), to reside

temporarily in his home in Rosemead, California (“Rosemead Residence”). As a

result of a criminal investigation against Gleason, Detective Turner sought and

obtained an arrest warrant for Gleason and a search warrant for the Rosemead

Residence.

      The search warrant directed officers to seize any firearm at the Rosemead

Residence, and, as a result, ten of Appellant’s firearms were seized (“the

firearms”). Appellant claims Appellees refuse to return the firearms to Appellant

even though Detective Turner has since recognized that the firearms have no

connection to any criminal activity by Gleason, and that no investigatory purpose

is served by continuing to withhold the firearms from Appellant. However, in order

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to have his firearms returned, Appellant must follow the procedures outlined in

Cal. Penal Code § 33850 et seq.

      In his opening brief, Appellant essentially asserts four main arguments: (1)

Detective Turner’s search warrant affidavit contained material omissions or

misstatements of fact that mistakenly led the magistrate to grant the search

warrant; (2) the parameters of the search warrant in this case were overbroad; (3)

the subsequent refusal to return Appellant’s firearms violated Appellant’s Second,

Fourth, and Fourteenth Amendment rights; and (4) the lower court abused its

discretion by refusing to consider if the City should be sanctioned for filing an

allegedly frivolous motion seeking Rule 11 sanctions against Appellant.

      However, this Court should decide all such issues presented by Appellant in

the negative for the following reasons: (1) the alleged omissions in Detective

Turner’s search warrant affidavit are not material, and the affidavit, as it stands,

was sufficient to establish probable cause to search the Rosemead Residence; (2)

the circumstances of this case indicate that the search warrant parameters were not

overbroad, and the case law that Appellant relies on are distinguishable and

inapplicable; (3) Appellant’s Second, Fourth, and Fourteenth Amendment rights

were not violated because he has not availed himself of the legal process to return

the ten seized firearms; and (4) the lower court had the right to refuse to consider if

the City should be sanctioned, and it is not obligated to indicate why it refused to

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answer. Therefore, Appellee respectfully requests that the Ninth Circuit affirm the

District Court’s order granting summary judgment.

                         STATEMENT OF THE CASE

      Appellant owns the Rosemead Residence and allowed Gleason to

temporarily reside there. [3-ER-550]. The Victim in this case was Gleason’s

estranged wife. Victim contacted Detective Turner to commence a criminal

investigation against Gleason.

      Detective Turner met with Victim on numerous occasions throughout the

investigation via telephone, email, text message, and in-person communications to

gather the pertinent information related to the investigation. [3-ER-477]. As a

result, it was discovered that messages and emails had been sent to Gleason’s

estranged wife (“Victim”) from an IP address at Rosemead Residence. [3-ER-288-

290]. The messages made threats to Victim in exchange for money and illicit

photographs of her and her mother. [3-ER-287]. If Victim did not comply with the

demands, the email sender indicated that they would use “dragon’s breath” on

Victim. [3-ER-305]. Detective Turner and Victim confirmed that “dragon’s breath”

referred to a type of shotgun ammunition, thus implying Gleason threatening to

shoot Victim. Id.

      Appellant alleges he did not know Gleason was the subject of a criminal

investigation. [3-ER-550]. Appellant’s firearms were stored in the attic, unsecured,

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and accessible to all residents, and were not in a locked gun safe. [3-ER-448-452,

478]. Additionally. Appellant would often leave Gleason alone at the Rosemead

Residence for up to a month at a time. [1-ER-9]. Appellant additionally testified he

left the doors to the attic unlocked when he was not at home. Id. There is no

dispute that Gleason had access to both the attic and the seized firearms.

      Detective Turner submitted an affidavit for a search warrant of the

Rosemead Residence. [3-ER-459-475]. The majority of details provided in

Detective Turner’s affidavit to the judicial officer are excerpts from Victim’s

statements, emails of threats of violence from the suspect to Victim, and references

to other related search warrants granted during this investigation. [3-ER-459-477].

      Law enforcement executed the warrants on June 19, 2020. [3-ER-477]. The

search warrant directed officers to seize any firearm on Appellant’s property, and

resulted in the seizure of ten of Appellant’s lawfully owned firearms. [3-ER-459-

477, 554]. Detective Turner subsequently took custody of the firearms. Id. Plaintiff

contends Appellees have refused to return the firearms to Appellant, even though

Detective Turner has since recognized that the firearms have no connection to any

criminal activity by Gleason and that no investigatory purpose is served by

continuing to withhold the firearms from Plaintiff. Id.

      The procedure for the return of firearms in law enforcement custody is

outlined in Cal. Penal Code § 33850 et seq. Instead of complying with Cal. Penal

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Code § 33850 et seq., Appellant drafted letters to the Riverside Police Department

for the return of his firearms. [3-ER-555]. Of course, this method fails to comport

with California law, and Appellees did not return Appellant’s firearms.

      Appellant has further conceded to the following stipulated facts:

      1. There was probable cause to obtain an arrest warrant for Kevin Gleason at

the Rosemead Residence. [3-ER-454].

      2. There was probable cause for a search warrant at the Rosemead

Residence. [3-ER-455].

      3. Detective Turner received information of Gleason’s potential violence. [3-

ER-456].

      4. There was probable cause for seizure of the firearms. [3-ER-454].

      5. Appellant has not made any application to the California Bureau of

Firearms in accordance with Cal. Penal Code § 33850 et seq. [3-ER-447].

      Appellant now appeals the District Court’s granting of Appellees Motion for

Summary Judgment. [1-ER-1-12]




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                                   ARGUMENT

I.    THE SEARCH WARRANT WAS NOT OVERBROAD.

      A.     LEGAL AUTHORITY

      Probable cause exists for a search warrant if, under the totality of the

circumstances, there is a fair probability that contraband or evidence of a crime

will be found in a particular place. Illinois v. Gates, 462 U.S. 213, 238 (1983);

People v. Evans, 133 Cal. Rptr. 3d 323, 338 (Cal. Ct. App. 1983) (citing Alabama

v. White, 496 U.S. 325, 330 (1990) [quotations omitted]). The term “fair

probability” does not mean certainty, or even a preponderance of the evidence.

United States v. Gourde, 440 F.3d 1065, 1069 (9th Cir. 2006) (citing Gates, 462

U.S. at 246). Instead, probable cause to search is established by the “known facts

and circumstances that are sufficient to justify a reasonable person’s belief that

contraband or evidence of a crime will be [discovered]”. Evans, 133 Cal. Rptr. 3d

at 338 (citing Ornelas v. United States 517 U.S. 690, 696 (1996)).

      When a court reviews the validity of a search warrant, it will usually uphold

the search warrant if the issuing magistrate had a substantial basis for concluding

that probable cause existed, based on the totality of the circumstances. Ewing v.

City of Stockton, 588 F.3d 1218, 1223 (9th Cir. 2009). A magistrate’s

determination of probable cause should be paid great deference by any reviewing

courts; practicality and common sense should be prioritized in order to avoid

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interpreting affidavits in a hyper-technical manner. Gates, 462 U.S. at 236.

      To prevail on a Fourth Amendment violation due to an overbroad search

warrant, Appellant must prove that (1) the search warrant contained

misrepresentations or omissions material to the finding of probable cause, and (2)

through a substantial showing, those misrepresentations and/or omissions were

made intentionally or with reckless disregard for the truth. Bravo v. City of Santa

Maria, 665 F.3d 1076, 1083 (9th Cir. 2011); KRL v. Moore, 384 F.3d 1105, 1117

(9th Cir. 2004); Galbraith v. City of Santa Clara, 307 F.3d 1119, 1126 (9th Cir.

2002).

      A court must determine whether the search warrant’s affidavit, once

supplemented with the correct and/or alleged omitted facts, would provide a

magistrate with a substantial basis for concluding that probable cause exists.

United States v. Stanert, 762 F.2d 775, 782 (9th Cir. 1985). If a plaintiff makes a

substantial showing of deliberate falsehood or reckless disregard for the truth

within the search warrant affidavit, then the plaintiff must establish that, but for the

dishonesty or reckless disregard, the challenged action would not have occurred.

Hervey v. Estes, 65 F.3d 784, 788-89 (9th Cir. 1995).

      A search warrant’s requirement for a specific description varies depending

on the circumstances of the case and the types of items involved. United States v.

Cardwell, 680 F.2d 75, 78 (9th Cir. 1982). Warrants that describe generic

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categories of items are not necessarily invalid if a more precise description of the

items subject to seizure is not possible. Id. Additionally, reference to a specific

illegal activity within a search warrant affidavit can, in appropriate cases, provide

substantive guidance for an officer’s exercise of discretion in executing the search

warrant. United States v. Washington, 797 F.2d 1461, 1472 (9th Cir. 1986).

      B.     THE SEARCH WARRANT AFFIDAVIT DID NOT CONTAIN MATERIAL

             OMISSIONS

      In his opening brief, Appellant argues the search warrant affidavit that

Detective Turner submitted contained material misstatements and omitted other

material facts. Along those lines, Appellant alleges these material misstatements

and omissions mistakenly led the magistrate to authorize an overly broad search

warrant. However, case law and the circumstances surrounding the search warrant

support two conclusions: (1) that under the law, Detective Turner’s affidavit

contained no material misstatements or omissions, and was sufficient to establish

probable cause; and (2) that the authorized search was not overbroad, and instead,

can be supported by case law and the facts known to law enforcement at the time.

             1.     Appellant Living at The Rosemead Residence.

      Appellant’s Opening Brief argues that Detective Turner omitted various

material facts that allegedly should have been disclosed to the magistrate upon

review. Appellant’s assertions related to the alleged material omissions within

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Detective Turner’s affidavit mainly surround the fact that the affidavit does not

mention that (1) persons other than Gleason resided at the Rosemead Residence,

(2) Appellant or his family were living at the Rosemead Residence and Appellant

was the homeowner, (3) Appellant and his family had no involvement in Gleason’s

criminal activities.

      To assert that these alleged omissions were material and should have been

included in Detective Turner’s affidavit, Appellant relies on Liston v. County of

Riverside, 120 F.3d 965 (9th Cir. 1997). However, the facts in Liston are wholly

distinguishable from the circumstances of the case at hand. In fact, this Court’s

ultimate ruling in Liston actually supports the Appellee’s claim that the affidavit

was sufficiently written under the law, and the alleged omissions and

misstatements were not material to begin with.

      In Liston, law enforcement had been preparing a search warrant affidavit for

an individual named James Hill, who investigators believed was living at a specific

residence. Id. at 968-969. At some point before submitting the affidavit to the

magistrate, law enforcement drove by the residence to verify its address and write

a premises description. Id. at 969. The residence had a “for sale” sign in the front

yard, but law enforcement omitted this detail in the affidavit that was submitted to

the magistrate. Id. After the search warrant was granted, law enforcement entered

the residence, only to find that Hill no longer lived there; the Liston family

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purchased the house from Hill and had moved in only a few days earlier. Id. at

970-971.

      Using standards set forth in Hervey, the Liston court concluded that if the

affidavit had been supplemented with the “for sale” sign fact, the magistrate would

have determined that no probable cause existed to search the residence; but for the

omission of that fact, the search warrant would not have been granted. Liston,

supra, 120 F.3d at 974 (citing Stanert, supra, 762 F.2d at 782; Hervey, supra, 65

F.3d at 788-89). Essentially, the “for sale” sign would have put a reasonable

magistrate on notice that a change in occupancy would be occurring in the near

future, if it had not already occurred. Id. at 974.

      Appellant uses Liston to argue that had Detective Turner told the magistrate

that Plaintiff was the homeowner, lived at the Rosemead Residence with his family

and none of them had any involvement in Gleason’s crimes, it is likely the

magistrate would not have authorized an overbroad warrant. This is purely

speculative and demonstrably false. When reviewed with the same analysis this

Court used in Liston, these facts show no material omissions or misstatements of

fact were made in Detective Turner’s search warrant affidavit.

      Firstly, the issue in Liston was whether the suspect actually lived at the

residence. A “for sale” sign contains a level of ambiguity which could mean the

subject of the search warrant may no longer live at the residence to be searched

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when the search warrant is executed by law enforcement. It could also mean that

new individuals may be living at the residence by the time law enforcement

decides to execute the search warrant.

      In the case at hand however, there is no such ambiguity; through a lengthy

law enforcement investigation in conjunction with other officers and individuals,

Detective Turner knew that Gleason was living at Appellant’s residence, had

issued his threats to the Victim from that residence, and had the means to carry out

those threats. [3-ER-287-290, 305, 477]. Further, there was no question whether

Gleason was about to move from the house, or whether he would be absent by the

time the search warrant was executed. Considering Gleason’s threats of violence,

coupled with Victim’s statement that Gleason may have had access to several

firearms show that there was probable cause to believe a crime had occurred,

future crimes could occur, and that anyone at the Rosemead Residence could be

involved in Gleason’s criminal activity.

      If Detective Turner’s affidavit had been supplemented with information

about Appellant, his family, and his firearms, would the magistrate still have had a

substantial basis that probable cause exists, as the Stanert standard requires? The

answer remains yes. The various facts that Appellant asserts are actually not

material for the purposes of establishing probable cause.

             2.    Appellant Was the Registered Owner Of All Vehicles.

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      The fact that the vehicles at the Rosemead Residence belonged to Gleason

and were all registered to Appellant does not change the gravity of Gleason’s

criminal activity and Gleason’s potential use of these vehicles. Appellant has not

even established the relevancy of including this fact in Detective Turner’s

affidavit, let alone the materiality of its omission.

             3.     Appellant Owned Numerous Handguns Which Were Left

                    Unsecured and Accessible To All Residents Of The Rosemead

                    Residence.

      According to Appellant, had Detective Turner’s affidavit included: (1)

Detective Turner’s knowledge of a specific handgun and (2) the fact Plaintiff was

the lawful owner of numerous handguns, the issuing magistrate would have issued

a narrower warrant only identifying Gleason’s specific handgun. Appellant misses

the issue with this argument: it is irrelevant whether Appellant’s handguns were

registered to him or not, the relevancy is that Gleason had access to these

handguns.

      Not only were Appellant’s handguns found in an unsecured and accessible

area, rather than in a locked safe, Appellant admits he would leave Gleason alone

at the Rosemead Residence for up to a month at a time and he would leave the

doors to the room unlocked when he was not at home. [1-ER-9; 3-ER-448-452,

478]. Appellant’s firearms were seized due to a valid warrant. Appellant cannot

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claim a Fourth Amendment violation from an overbroad search warrant due to his

own negligent firearm keeping.

      Along that same thought process, Appellant argues that Turner could not

have reasonably believed Gleason currently possessed a handgun simply because

the Victim told Detective Turner Gleason had inherited a shotgun from his father,

the Victim knew Gleason had a handgun of an unknown type years earlier, and

Gleason had no record of owning a firearm. This argument, again, naively assumes

Gleason does not have access or control to any other firearm.

      The fact of the matter remains the same: Gleason made threats to not only

post illicit photos of the Victim in exchange for money, but also to use “dragon’s

breath” ammunition on her in retaliation. Essentially, Gleason had threatened to

harm the Victim using a firearm if she did not comply with his demands. Appellant

attempts to argue that the rest of his firearms should not have been seized because

“dragon’s breath” is a type of shotgun ammunition, and this apparently means that

Gleason had only planned to harm Victim with a shotgun. But a practical and

common-sense review of this fact should highlight the fact that Gleason was

threatening to kill Victim and would be able to do so if he had any firearm at his

disposal.

      C.     THE SEARCH WARRANT AFFIDAVIT DID NOT CONTAIN MATERIAL

             MISSTATEMENTS

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      Appellant also argues that Detective Turner’s affidavit contained material

misstatements of fact, primarily alleging that the affidavit failed to mention that the

Victim had gained some of her information about Gleason’s firearms from her

brother, Patrick.

      However, Victim told Detective Turner she knew Gleason possessed several

firearms, including a shotgun, that were passed down to him from his father after

he passed away. 3-ER-477]. Accordingly, Detective Turner reflected this

information in the search warrant affidavit.

      Appellant attempts to show that this is a material misstatement of fact, and

claims that the affidavit says that Victim had “personal knowledge” that Gleason

owns multiple firearms. However, this claim, in and of itself, is a misstatement

because Detective Turner’s affidavit does not even use the term “personal

knowledge.” [3-ER-459-475]. Instead, the affidavit says that “[Victim] said her

estranged husband had several guns...” Id. When Victim’s statements and

deposition are looked at without Appellant’s lens, it is evident that (1) she was

aware from personal experience that Gleason had a shotgun and handgun, and (2)

she was also aware through her brother’s personal experience that Gleason had

used and shot multiple other firearms in the past, leading her to believe that

Gleason owned these firearms as well.

      Appellant also claims that because Victim gained some of this information

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from her brother Patrick, that it suddenly means that Detective Turner’s affidavit

had misstatements. While the affidavit does not mention that Victim obtained some

of her information from her brother, such information, even if included, would

have been irrelevant because Victim still obtained this information and was under

the impression that Gleason had firearms in his possession or control. Victim was

afraid for her and her children’s safety because of the homicidal threats Gleason

personally made to her. Detective Turner’s affidavit clearly reflects these facts and

the potential danger Victim was in, especially when keeping in mind that

Gleason’s personal firearms were not the only ones he evidently had access to.

       In fact, the evidence shows that Gleason had multiple firearms and vehicles

available to him at the Rosemead Residence, which would enable him to carry out

his threats against the Victim, i.e., a vehicle would enable him to travel to Victim’s

location, and a firearm would provide him a weapon to carry out his threat and kill

her.

       In addition (and as the standard in Hervey indicates), but for the alleged

omissions and misstatements in the affidavit, the search of Appellant’s residence

would still have occurred. As the above analysis indicates, the magistrate would

have still granted the search warrant under the same parameters. Proof of probable

cause in Detective Turner’s affidavit is not rooted in the Appellant, Appellant’s

family, or the fact that Appellant had registered firearms and vehicles at the

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Rosemead Residence. Instead, the affidavit was granted because probable cause

was rooted in the fact that: (1) Gleason had used technology/email when he

threatened to post illicit photos of Victim if Victim did not send money, more

photos, or have sex with an ex-partner; (2) Gleason had threatened to shoot Victim

if she did not comply with his demands; (3) Gleason was confirmed to be living at

the Rosemead Residence through various electronics warrants and investigations;

(4) Gleason had firearms in his possession; and (5) under case law, it was

reasonable to believe that Gleason had access to other firearms at Appellant’s

residence.

      Therefore, both the issuing Magistrate and the District Court correctly found

probable cause existed due to Gleason’s threat of extortion to Victim, his threats of

violence against Victim, Victim’s statements that Gleason may have access to

personal firearms, and the fact that Gleason could have access to firearms at the

Rosemead Residence that he could use to carry out his threats against Victim. The

fact that Appellant lived at the residence, Victim obtained some of her information

from her brother, and the vehicles and firearms at the Rosemead Residence

belonged to Appellant do not detract from the above facts establishing probable

cause. The fact of the matter is that despite these facts being omitted, said

omissions do not change the circumstances of the case. Instead, the facts that

Appellant’s case hangs on were all immaterial and irrelevant to a finding of

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probable cause, as Appellees already established above.

      D.     APPELLANT HAS FAILED TO PROVE DETECTIVE TURNER ACTED

             WITH INTENTIONALITY OR RECKLESS DISREGARD

      To prevail in the instant action, Appellant must show that: (1) Detective

Turner’s affidavit contained omissions and/or misstatements of fact material to a

probable cause finding, and (2) said omissions and/or misstatements of fact were

made intentionally or with reckless disregard for the truth. Bravo, supra, 665

F.3d at 1083.

      The second prong need not even be analyzed because, as explained above,

Appellant has failed to show that the alleged omissions and misstatements in the

affidavit are material. However, for the sake of argument, even if the alleged

omissions and misstatements of fact were material in this matter, Appellant has

presented no evidence nor made any argument to prove that Detective Turner acted

with intentionality or reckless disregard in omitting the stated facts. Bravo, supra,

665 F.3d at 1083. As it stands, the affidavit and search warrant included all the

facts necessary to conduct a search of Appellant’s residence.

      E.     THE SEARCH WARRANT WAS NOT OVERBROAD

      Courts usually review the issuance of a search warrant deferentially and

uphold it if the issuing judge “had a substantial basis for concluding that probable

cause existed based on the totality of the circumstances.” Ewing, supra, 588 F.3d at

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1223 (internal quotation, brackets, and citations omitted). Here, there is clear

evidence and stipulations of the following: 1) the suspect made violent threats; 2)

the suspect threatened to harm or kill the victim; 3) there was probable cause for

the search warrant; 4) there was probable cause to seize certain firearms; and 5) the

firearms were in an unlocked area of the residence accessible to Gleason. [1-ER-9;

3-ER-448-287, 452, 454, 455, 478].

      Appellant relies on United States v. Spilotro, 800 F.2d 959 (9th Cir. 1991) to

set the standard for the test for overbreadth. Under Spilotro, to determine if a

warrant was overbroad, the Court addresses:

      (1) whether probable cause exists to seize all items of a particular type

      described in the warrant; (2) whether the warrant sets out objective standards

      by which executing officers can differentiate items subject to seizure from

      those which are not; and (3) whether the government was able to describe

      the items more particularly in light of the information available to it at the

      time the warrant was issued.

Spilotro, supra, 800 F.2d at 963.

      Here, Appellant argues that the parameters of the search warrant were

overbroad because it authorized law enforcement to search throughout the

Rosemead Residence for any vehicles, firearms, computers/electronic data

processers, and items establishing the identity of persons who have dominion and

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control of the residence and items to be seized. Appellant’s opinion is that, in light

of the alleged omissions and misstatements of material fact, these parameters were

too broad and should have been more succinct.

             1.     The Warrant Was Stated with Particularity

      Primarily, Appellant relies on Spilotro to assert that warrant could have been

stated with more particularity. However, the facts and circumstances within

Spilotro are vastly different from those in the case at hand. In Spilotro, the FBI

discovered the defendants were involved in a loan sharking and bookmaking

business and issued seventy search warrants to support a widespread search of a

jewelry store and residence. Spilotro, supra, 800 F.2d at 960-961. As part of this

search, various types of evidence were seized, including jewelry, gemstones,

notebooks, documents, etc. Id. at 961-962.

      The District Court and 9th Circuit both concluded that the search warrants

were overbroad. Id. at 968. For starters, a portion of the supporting affidavit is a

lengthy chronology of surveillance and wiretaps, which showed a general pattern

of criminal wrongdoing, but no strong evidence of isolated criminal transactions.

Id. at 961. Additionally, the search warrants directed law enforcement to search

and seize notebooks, documents, jewelry, gemstones, and other items in violation

of various United States Code Title 18 (“Title 18”) sections. Id.

      The 9th Circuit wrote that, as the search warrants stood, the FBI authorized

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wholesale seizures of entire categories of items not generally evidence of criminal

activity, and did not provide any guidelines to distinguish lawful items from

unlawful items. Id. at 964. For example, all jewelry and documents were seized at

the jewelry store and residence; the 9th Circuit indicated that the FBI could have

described in greater detail the items one expects to find on loan shark premises and

in bookmaking notebooks. Id. Instead, all the search warrants described were a

history of general criminal wrongdoing, and an overly expansive list of items to be

seized.

      The 9th Circuit even said that the generic and expansive list of item

descriptions in the search warrants may not have been fatal if the warrants had

more specifically identified the alleged criminal activities that had occurred. Id.

Instead, the search warrants described general criminal activity and over a dozen

Title 18 sections that could have been violated through the course of loan

sharking/bookmaking. Id. at 964-965. In fact, the 9th Circuit concluded that the

statutes in question likely encompassed several hundred separate criminal acts that

the defendants could have violated. Id. at 965.

      Overall, the 9th Circuit concluded that probable cause did not exist to seize

all items described in the warrant, that the search warrants failed to establish

objective standards that officers could use to differentiate items subject to seizure

from those not subject to seizure, and that the FBI could have described the listed

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items more particularly in light of the case’s circumstances. Here, Appellant uses

Spilotro to argue that the search warrant parameters (a search of all vehicles,

electronics, and firearms at the Rosemead Residence) were too broad. However,

the circumstances regarding Detective Turner's search warrant can be distinguished

from Spilotro.

      First, Detective Turner’s affidavit and search warrant describe specific dates

and instances in which Gleason sent emails to Victim in an attempt to extort and

threaten her into compliance. [3-ER-459-475]. Said facts are the opposite of a

“general pattern of criminal wrongdoing,” and instead highlight the facts behind

each threat and the exact words that were used as well. Id. Spilotro, supra, 800

F.2d at 961. Additionally, rather than listing over a dozen criminal statutes that

Gleason may have violated, the affidavit describes the specific acts that Gleason

committed against Victim, and the potential of him doing so again due to the

firearms at his disposal. [3-ER-459-475].

      Second, and as Cardwell indicates, the facts surrounding Gleason and his

threats to Victim warranted the type of search warrant that was granted in this case.

Cardwell, supra, 680 F.2d at 78. Appellant may argue that the search warrant

parameters in this case were too generalized, as the Spilotro search warrant was,

but the circumstances of Gleason’s conduct justify the fact that a more precise

description of searchable items was not possible.

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      As has been already described, Gleason sent various emails to Victim to

solicit illicit photographs of her, and to threaten her with posting photographs in

his possession if she did not comply with his demands. [3-ER-287, 477].

Additionally, Gleason threatened to shoot Victim with “dragon’s breath” if she

continued to not listen. [3-ER-305]. A criminal investigation revealed that those

emails were coming from Appellant’s residence, Gleason had firearms in his

possession, and under case law, he likely had access to other firearms at

Appellant’s residence. [3-ER-288-290]. All these facts were stated in the warrant

and affidavit. [3-ER-459-475].

      Therefore, there was probable cause to believe Gleason had threatened

Victim through electronic means and that he had the ability to carry out those

threats due to the tools accessible to him and in his possession. These

circumstances warranted a search warrant that granted officers the authority to

search the residence and any vehicles, electronics, and firearms that could be found

in and around it. It would have been impossible to distinguish which electronic

device(s) these threats came from without seizing and inspecting those devices in

the first place. Therefore, the warrant was stated with sufficient particularity.

             2.     All Firearms and Firearms-Related Items

      Appellant asserts that none of his firearms should have been seized because

Gleason’s threat to Victim concerned “dragon’s breath,” and that term referred to

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ammunition for a shotgun, not other types of firearms. Essentially, Appellant

alleges that the search warrant was overbroad because Detective Turner should

have known that Appellant’s personal property would be at the Rosemead

Residence, and that said property would be unconnected to Gleason’s criminal

activity.

       Appellant misses one crucial issue in his analysis: Appellant’s firearms were

stored in Rosemead Residence attic, unsecured, and accessible to all residents,

including Gleason, and were not in a locked gun safe. [1-ER-9; 3-ER-448-452,

478]. It is undisputed Gleason had access to Appellant’s handguns. Id. Appellant

testified at deposition that he allowed Gleason to live with him because he “wanted

someone to stay at [his] house when [he] was going to be out of town,” and that he

left Gleason alone at the house for up to a month at a time. Id. Appellant

additionally testified he left the doors to the attic unlocked when he was not at

home. Id. Therefore, Gleason could have used anything accessible to him within

the home, including Appellant’s handguns, to carry out his threats against Victim.

       Appellant relies on Millender to argue the warrant for search and seizure of

Appellant’s firearms was overbroad. Millender v. County of Los Angeles, 620 F.3d

1016 (9th Cir. 2010). In Millender, a female subject was assaulted by her ex-

boyfriend and was able to successfully escape from him using her vehicle. Id. at

1020. During the escape, the female subject saw her ex-boyfriend pull out a black

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sawed-off shotgun, and saw him shoot at her vehicle as she sped away. Id. at 1021.

As part of the criminal investigation, the female subject described the shotgun to

law enforcement and even provided them with a photograph of the firearm. Id. at

1022. However, the prepared affidavit and search warrant authorized search and

seizure of all types of firearms. Id.

      This Court concluded the search warrant was overbroad, primarily because

the affidavit did not set forth any other evidence indicating that the ex-boyfriend

owned or used any other firearms, or that any other firearms would be found at the

residence to be searched. Id. at 1025. Additionally, because an assault against the

female subject had already occurred, and a description and photo of the involved

firearm had been given, there could be no further justification for seizure of other

firearms. Id. at 1027.

      Here, Gleason, fortunately, was never able to assault Victim, but he did

make threats that he would shoot her with “dragon’s breath” if she did not comply

with his demands. [3-ER-305]. Appellant claims that because Gleason used the

word “dragon’s breath,” that Gleason would only use a shotgun to shoot Victim,

even if Gleason had an arsenal of weapons available to him. However, this is

hyper-technical analysis that is frowned upon by cases such as Illinois v. Gates,

which encourages courts to use common sense and practicality when analyzing

search warrants. Gates, supra, 462 U.S. at 236.

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      A commonsense view of the circumstances shows that Gleason made a

threat against Victim that would cause her great bodily injury and/or death, and

practicality presumes that Gleason would use any firearm he has access to in order

to cause that harm to Victim. Essentially, the exact syntax of Gleason’s threat (that

he would use “dragon’s breath”) is not as important as the substance of Gleason’s

threat (that he would cause great bodily injury and/or death to Victim by use of a

firearm).

      Unlike the search warrant affidavit in Millender, the affidavit in this case

specified that Gleason owned firearms and had access to firearms. [3-ER-459-

475]. One of the reasons the Millender search warrant was deemed overbroad in

the first place was because there was no evidence to suggest that firearms would be

found at the residence to be searched. Millender, supra, 620 F.3d at 1025. Here,

the investigation revealed that Gleason had firearms and likely access to others. All

of this suggests that Detective Turner’s search warrant and affidavit were not

overbroad, but on the contrary, were sufficient to establish probable cause to seize

any firearms found at the Rosemead Residence.

      Therefore, because RPD knew that Gleason had firearms in his possession

and that there would likely be other firearms located at the Rosemead Residence,

there was probable cause for the search and seizure of any and all firearms at the

Rosemead Residence.

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              3.    Dominion and Control Items

       Documentation showing dominion and control is patently relevant because

such documentation helps to establish the identities of individuals who have

property connected to the search warrant itself. United States v. Alexander, 761

F.2d 1294 (9th Cir. 1985).

       In order to establish the various items in the search warrant were used, or

could be used, in correlation with the given threats, the investigating officer

requires items indicating dominion and control, knowing that multiple different

items could be subject to the search warrant’s parameters. Accordingly, all

documentary evidence relevant to establishing a defendant has violated state law

(including documents showing dominion and control) is reasonable in search

warrant terms. Moreover, evidence establishing dominion and control is relevant to

the particularity requirement, and appellant’s standing to challenge the search in

the first place.

       Therefore, items indicating dominion and control were necessary to include

in the warrant.

              4.    Vehicles

       Additionally, Appellant argues that a search of vehicles is overbroad because

neither the Rosemead Residence nor the vehicles belong to Gleason and, instead,

were registered to Appellant or his deceased father. However, contrary to what

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Appellant argues, this evidence is relevant because all vehicles were available for

Gleason’s use if he wished to carry out his threats against Victim.

      Appellant argues Gleason’s underlying crime had nothing to do with the use

of a vehicle, when in reality, Gleason’s crimes surrounded tormenting Victim and

her family. Appellant further claims the overbreadth is more egregious than in

Millender. However, keeping Millender in mind, this argument also fails because,

in Millender, the search warrant was deemed overbroad because the ex-boyfriend

had already threatened the female subject, used a specific weapon in the process,

and no further weapons were thought to be located at the residence to be searched.

Millender, supra, 620 F.3d at 1025. Here, RPD was able to confirm that Gleason

had made violent threats to Victim, and that vehicles were on the Rosemead

Residence premises that Gleason had access to. [3-ER-287-290, 305, 477].

Gleason could have used the vehicles to act on his threats to Victim at any

moment, and the vehicles could also have been used to conceal other evidence of

Gleason’s crimes not already within the house.

             5.    All Electronic Devices

      There is no question that RPD knew that electronics at the Rosemead

Residence were used by Gleason to send threats to Victim. Appellant attempts to

nitpick the subject search warrant, instead of reading it as a whole. As explained

above, the purpose of searching for items evidencing dominion and control is to

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establish the ownership or possession of certain items.

      The warrant allowed Detective Turner to seize any electronics which could

have been an instrumentality of Gleason’s crimes. [3-ER-459-475]. However,

Detective Turner decided to only seize those items Gleason personally identified as

his, or were in his actual possession. As a matter of public policy, law enforcement

should not be punished for exercising reasonable restraint to be as precise as

possible under the circumstances. As such, Detective Turner should not be

punished for not seizing other electronic devices not identified to be subject of

Gleason’s criminal acts.

      Therefore, Appellant’s overall claim that Detective Turner’s search warrant

and affidavit are overbroad is incorrect. Considering (1) Gleason’s threats, (2)

confirmed facts regarding firearms in Gleason’s possession, and (3) a likelihood

that other firearms would be found at the Rosemead Residence, even if this Court

views the search warrant parameters as slightly general, the warrant is justified

under Cardwell and establishes a finding of probable cause.

II.   THE SEIZURE AND SUBSEQUENT REFUSAL TO RETURN FIREARMS TO
      PLAINTIFF DID NOT VIOLATE PLAINTIFF’S CONSTITUTIONAL RIGHTS

      A.     THE INITIAL SEIZURE WAS LAWFUL

      As explained at great length above, Appellant’s firearms were confiscated as

a result of a judicially authorized search warrant. [3-ER-454, 455, 459-475]. There

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was no Second or Fourth Amendment violation in the initial seizure of Appellant’s

firearms.

        Appellant argues that the seizure of Appellant’s handguns was unlawful

because the plaintiff’s shotgun in Millender was seized from her bedroom closet. 1

Though accompanied by a well-seasoned lawyer, experienced in Federal Court,

including this Court, Appellant does not understand the significance of his firearms

being “unsecured and accessible” to Gleason. Simply put, Appellant’s firearms

were not in a locked gun safe. [1-ER-9; 3-ER-448-452, 478]. As the District Court

correctly found, Appellant, has not present any evidence to establish that Gleason

could not have entered the attic or obtained access to the firearms.

        It is irrelevant that Appellant was never suspected of any crime. It was

enough that Gleason was suspected of a crime and Gleason was residing at the

Rosemead Residence. Appellant had handguns in the Rosemead Residence which

were directly accessible by Gleason. During the criminal investigation involving

the extortion-related threats Victim received, through deductive analysis, Victim




1
    Not only was Appellant’s counsel the Counsel for Millender in Millender v.
County of Los Angeles, Appellant’s counsel does not cite to Millender or any of its
subsequent appeals in referencing the location of the plaintiff’s found shotguns.
Instead, Appellant’s counsel directs the Court to the Excerpts of Record filed with
this Court in the Millender case.
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and Detective Turner were able to infer that Gleason was likely the sender of these

various threats. However, the only fact that could be confirmed at this time was

that the threatening messages were being sent from Appellant’s residence. While

Gleason was the primary suspect listed in Detective Turner’s search warrant and

affidavit, said information wasn’t confirmed until the search warrant had already

been executed, and the electronic devices examined. For all intents and purposes,

during the drafting of the search warrant and affidavit, any individual at the

Appellant’s residence could have been the one to send the threats to Victim. It

wasn’t until the search warrant had already been executed that it was confirmed

that Gleason was the one to send the threats from his laptop.

      Evidence of one crime is not always evidence of several crimes, but given

Gleason’s possession of one illegal gun and his threats to victim, a reasonable

officer could conclude that there would be additional guns at the residence.

Messerschmidt v. Millender, 565 U.S. 535, 549 (2012).

      B.     THE SUBSEQUENT REFUSAL WAS LAWFUL

      Any allegation Appellant makes arguing Appellees continuous refusal to

return his firearms is a blatant red herring. Appellant is patently preventing himself

from regaining his firearms. [3-ER-447].

      California Penal Code § 33850 provides: “Any person who claims title to

any firearm that is in the custody or control of a court or law enforcement agency

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and who wishes to have the firearm returned shall make application for a

determination by the Department of Justice as to whether the applicant is eligible

to possess a firearm.” Cal. Penal Code § 33850(a). (Emphasis added).

      Essentially, Cal. Penal Code §33850 et seq. requires a firearms owner,

having had their firearms confiscated by a law enforcement agency, submit an

online application to the California Department of Justice Bureau of Firearms

(“DOJ”), which regulates the manufacture, sale, ownership, safety training, and

transfer of firearms. Id. Once received, the DOJ must review the application and

determine the applicant’s eligibility to possess firearms, based on a background

check. Cal. Penal Code § 33865. Until the eligibility determination, the law

enforcement agency is prohibited by law from releasing the confiscated firearms.

Cal. Penal Code § 33855. Here, Appellant, for no reason stated, refuses to comply

with Cal. Penal Code § 33850 to regain his firearms.

            1.     Appellant’s Misapplication of Bruen

      Appellant cites N.Y. State Rifle & Pistol Ass'n v. Bruen, 142 S. Ct. 2111

(2022), as an attempt to show the seizure of his firearms was unlawful. The dispute

in Bruen surrounded the constitutionality of the state of New York’s issuance of

public carry licenses only when the applicant had demonstrated a “proper cause”

for a special need for self-defense. Bruen, supra, at 2117. The U.S. Supreme Court

ruled that “when the Second Amendment’s plain text covers an individual’s

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conduct, the Constitution presumptively protects that conduct. The government

must then justify its regulation by demonstrating that it is consistent with the

nation’s historical tradition of firearm regulation. Only then may a court conclude

that the individual’s conduct falls outside the Second Amendment’s ‘unqualified

command.’” Id. at 2126 (citing Konigsberg v. State Bar of Cal., 366 U.S. 36, 50

(1961)).

      Further, as the Bruen court recognized, there is a history of prohibiting the

access to firearms to persons convicted of crimes: “[t]hroughout modern Anglo-

American history, the right to keep and bear arms in public has traditionally been

subject to well defined restrictions governing the intent for which one could carry

arms, the manner of carry, or the exceptional circumstances under which one could

not carry arms. Nor is there any such historical tradition limiting public carry only

to those law-abiding citizens who demonstrate a special need for self-defense.”

Bruen, supra, 142 S. Ct. at 2138.

      To be clear, nothing in our analysis should be interpreted to suggest the
      unconstitutionality of the 43 States’ “shall-issue” licensing regimes,
      under which “a general desire for self-defense is sufficient to obtain a
      [permit].” Drake v. Filko, 724 F. 3d 426, 442 (CA3 2013) (Hardiman,
      J., dissenting). Because these licensing regimes do not require
      applicants to show an atypical need for armed self-defense, they do not
      necessarily prevent “law-abiding, responsible citizens” from exercising
      their Second Amendment right to public carry. District of Columbia v.
      Heller, 554 U. S. 570, (2008). Rather, it appears that these shall-issue
      regimes, which often require applicants to undergo a background check
      or pass a firearms safety course, are designed to ensure only that those

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      bearing arms in the jurisdiction are, in fact, “law-abiding, responsible
      citizens.” Ibid. And they likewise appear to contain only “narrow,
      objective, and definite standards” guiding licensing officials,
      Shuttlesworth v. Birmingham, 394 U. S. 147, 151, (1969), rather than
      requiring the “appraisal of facts, the exercise of judgment, and the
      formation of an opinion,” Cantwell v. Connecticut, 310 U. S. 296, 305,
      60 S. Ct. 900, 84 L. Ed. 1213 (1940)—features that typify proper-cause
      standards like New York’s.
Bruen, supra, 142 S. Ct. at 2138, fn. 9

      Here, the statutory framework for the return of firearms under Cal. Penal

Code § 33850 et seq. is an objective standard, rather than a subjective standard

similar to the standard at issue in Bruen. Cal. Penal Code § 33850 et seq. does not

require an individual resident to show through “proper cause” that he or she is

entitled to the return of the confiscated firearms. In fact, Cal. Penal Code § 33850

et seq. does not even require an individual to show how they intend to use the

firearms or whether they seek to possess the firearms in a residence or in public.

All an individual must do is submit an application to DOJ with (1) the individual’s

identifying information, (2) whether the applicant is a U.S. citizen, (3) the

identifying features of the firearm(s), (4) a valid drivers’ license, (5) the name of

the law enforcement agency, and (6) a signature. Cal. Penal Code § 33850. Every

individual must follow the same objective procedure. Id.

      Bruen, on the other hand, dealt with a subjective standard where each

individual was required to prove a subjective “proper cause” existed for a special

need for self-defense. Bruen, supra, at 2117. The purpose of Cal. Penal Code §
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33850 et seq. is not to place restrictions on an individual’s ability to possess

firearms, but instead to safeguard the law-abiding public of California, so that

neither firearms, nor ammunition, fall into the hands of dangerous individuals,

including persons convicted of or accused of serious crimes.

      Therefore, Cal. Penal Code § 33850 et seq. is constitutional since

undergoing a background check is designed to ensure that only those bearing arms

in California are, “in fact, law-abiding, responsible citizens.” Bruen, supra, 142 S.

Ct. at 2138 (… And they likewise appear to contain only “narrow, objective, and

definite standards” guiding licensing officials, Shuttlesworth v. Birmingham, 394

U.S. 147, 151, 89 S. Ct. 935, 22 L. Ed. 2d 162 (1969), rather than requiring the

“appraisal of facts, the exercise of judgment, and the formation of an opinion,”

Cantwell v. Connecticut, 310 U.S. 296, 305 (1940)). Further, Appellant is not on

equal footing as the Plaintiffs in Bruen because Appellant’s firearms were taken as

a result of a valid warrant.

             2.     Appellant’s misapplication of Miranda and Brewster

      Appellant further cites to Miranda v. City of Cornelius and Brewster v. Beck

to support his contention that RPD’s retention of his firearms is unlawful.

Appellant uses Miranda to argue that the decision to impound property pursuant to

a state statute does not, in and of itself, determine the reasonableness of a property

seizure under the Fourth Amendment. Miranda v. City of Cornelius, 429 F.3d 858,

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864 (9th Cir. 2005). Appellant uses Brewster to claim that a property seizure is

justified under the Fourth Amendment only to the extent that the government’s

justification for the seizure stands; if not, the government must cease the seizure or

secure a new justification. Brewster v. Beck, 859 F.3d 1194, 1197 (9th Cir. 2017).

      However, the case at hand is distinguishable from both Miranda and

Brewster in several ways. First, and which has been discussed at length, the

decision to seize Appellant’s firearms was based on a valid search warrant, and

thus the reasonableness of said property seizure is presumably and otherwise valid

under the Fourth Amendment. Additionally, Brewster involved an individual

whose vehicle was seized under the authority of the California Vehicle Code. Id. at

1195. Already, that case stands in stark contrast to the case at hand, which involves

a seizure of firearms, not a vehicle.

      Most importantly, the vehicle owner in Brewster complied with the statutory

procedure laid out in the California Vehicle Code in order to regain possession of

his vehicle, and only filed suit once that process had been attempted. Id. at 1196.

Here, Appellant still has not attempted to follow the procedure set forth in Cal.

Penal Code § 33850 et seq. in order to regain possession of his firearms.

Essentially, he is causing his own delay, and since a post-deprivation remedy is

available, Appellant cannot claim that his firearms have been unlawfully retained.



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             3.     Appellant’s misapplication of Frein

      Appellant claims the Third Circuit addressed a nearly identical situation in

Frein v. Pennsylvania State Police, 47 F.4th 247 (3rd Cir. 2022). However, this is

another red herring from Appellant. In Frein, the police, pursuant to a valid

warrant, seized the plaintiffs’ firearms in connection to a crime in which plaintiffs’

son committed. Id at 250-251. The government did not use the firearms it had

seized and never alleged that any of plaintiffs’ firearms were involved in the crime.

Id. However, the government claimed they might need the firearms as evidence if

the son’s state or federal habeas petition yields a new trial. Id. The Court found

that while the warrant immunizes the officers who first seized the firearms, that

warrant was tied to the son’s trial and, therefore, the immunity ran out by the time

the parents sued. Id. at 256. “If the government wants to keep the property after the

conviction becomes final, it needs some justification.” Id. at 253. “A new warrant

or other proof of continued compliance with the Fourth Amendment could justify

retention for collateral review, say, or a new investigation or prosecution. But the

government offers no such justification.” Id.

      Here, Appellees are not withholding Appellant’s firearms on the basis that

they are evidence of a crime. Instead, the firearms have not been returned to

Appellant’s refusal to comply with Cal. Penal Code § 33850. [3-ER-447].



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             4.     Appellant Does Not Claim Cal. Penal Code § 33850 is

                    Unconstitutional.

      Important to note: Appellant is not claiming that Cal. Penal Code §33850 et

seq. is unconstitutional, only that the continued seizure is wrong. However, as the

District Court properly notes, since Appellant has not yet attempted to comply with

Cal. Penal Code §33850, there has been no state deprivation. [1-ER-11].

Appellant’s Second Amendment rights are still respected because he is not

prohibited from purchasing other firearms, and because he has a post-deprivation

remedy that he has not availed himself of.

      Interestingly, this Court has already ruled Cal. Penal Code § 33850 does not

violate the second amendment. In Rodriguez v. City of San Jose, a plaintiff’s

firearms were confiscated by a law enforcement agency, and the plaintiff alleged

said seizure had violated her Second Amendment rights. Rodriguez v. City of San

Jose, 930 F.3d 1123, 1127 (9th Cir. 2019). The plaintiff followed the procedures

outlined in Cal. Penal Code § 33850 et seq. and obtained approval from the DOJ to

regain possession of the firearms. Id. at 1129. However, law enforcement still

refused to release the firearms to the plaintiff. Id.

      Despite these facts, this Court held: (1) that the plaintiff’s Second

Amendment rights had not been violated by the initial seizure and continued

retention of the firearms; and (2) that even though the plaintiff had completed the

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procedural requirements of Cal. Penal Code §33850 et seq., the continued retention

of the firearms did not violate the plaintiff’s Second Amendment rights, because

the plaintiff could still go out and purchase a firearm. Id. at 1133.

             5.     U.S. History Regarding Regulations Of Firearms

      The United States has a history of enacting regulations that are intended to

prevent potentially dangerous individuals from possessing firearms. For example,

the Gun Control Act of 1968 was enacted “to keep firearms away from the persons

Congress classified as potentially irresponsible and dangerous.” United States v.

Serrano, 651 F.Supp.3d 1192, 1212 (S.D. Cal 2023) (citing Barrett v. United

States, 423 U.S. 212, 218 (1976)).

      On a similar note, in United States v. Bartucci, a federal statute prohibiting

felony indictees from receiving firearms was deemed consistent with the United

States’ history of firearm regulations; the United States has had a history of

disarming groups of people perceived as dangerous or disfavored. United States v.

Bartucci, 658 F.Supp.3d 794, 803 (E.D. Cal. 2023).

      In the same vein, the United States Supreme Court ruled in Hudson v.

Palmer that a negligent or intentional unauthorized deprivation of property does

not constitute a violation of the procedural requirements of the Due Process Clause

if a meaningful post-deprivation remedy is available. Hudson v. Palmer, 468 U.S.

517 (1984). (Emphasis added).

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       In the above cases, continued deprivation of property was deemed

constitutional, even though the plaintiff in Rodriguez had availed herself of Cal.

Penal Code §33850 et seq., and even though the deprivation of property in Hudson

was unauthorized. In the instant case, Appellant refuses to avail himself of Cal.

Penal Code § 33850 et seq., which is an authorized California statute that is

designed to protect the public from potentially dangerous individuals possessing

firearms.

       For the foregoing reasons, the continued retention of the firearms does not

violate Appellant’s Second Amendment rights.

III.   THE DISTRICT COURT DID NOT ERR BY NOT ISSUING AN INJUNCTION.

       Plaintiff is not entitled to injunctive relief. Plaintiff acknowledges there was

probable cause for the search warrant of Plaintiff residence [3-ER-454, 455].

Plaintiff admits probable cause to seize firearms at his residence pursuant to said

search warrant. Plaintiff admits he has not complied with the statutory provision of

the Cal. Penal Code for the release of his firearms. The District Court previously

denied Appellant’s request for injunctive relief for the return of his firearms

because Appellant had not complied with Cal. Penal Code §§ 33850- 895. [1-ER-

14-19]. Therefore, Appellant is not entitled to injunctive relief and the District

Court did not abuse its discretion.


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IV.   THE DISTRICT COURT DID NOT ABUSE ITS DISCRETION BY REFUSING
      TO CONSIDER PLAINTIFF’S RULE 11 MOTION


      Finally, Appellant argues that the lower court abused its discretion when it

refused to consider if Appellees’ counsel should be sanctioned under Rule 11.

Procedurally, Appellees’ counsel filed a Rule 11 motion, indicating that

Appellant’s counsel should be sanctioned in regard to the filing of his Complaint.

[2-ER-256-273]. In response, Appellant requested that the lower court impose

sanctions against Appellees. [2-ER-189-193].

      In the District Court’s Order granting Appellees’ Motion For Summary

Judgment, the court indicated that Appellees had not met their burden to prove that

sanctions were warranted under Rule 11. [1-ER-12]. Nothing further was said

regarding either party’s Rule 11 motions. Id.

      Under Federal Rule of Civil Procedure 11(c)(6), an order imposing a

sanction must describe the sanctioned conduct and explain the basis for the

sanction. Since district courts are best acquainted with their local bar’s litigation

practices, they are best situated to determine when a sanction is warranted, in order

to serve Rule 11’s goal of deterrence. See Cooter & Gell v. Hartmarx Corp., 496

U.S. 384, 404 (1990).

      A district court is also not strictly obligated to provide its reasoning for

denying a Rule 11 motion for sanctions. In Winterrowd v. American General

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Annuity Ins. Co., this Court ruled that a district court does not necessarily abuse its

discretion by simply denying a request for sanctions without making specific

findings of fact. Winterrowd v. American General Annuity Ins. Co., 556 F.3d 815,

826 (9th Cir. 2009).

      However, in Cervantes Orchards & Vineyards, LLC v. Deere & Co., counsel

for defendants were sanctioned by a district court, but the district court failed to

adequately explain its reasons for awarding sanctions. Cervantes Orchards &

Vineyards, LLC v. Deere & Co., 731 Fed.Appx. 570, 573-574 (9th Cir. 2017).

Accordingly, this Court remanded the case for further explanation regarding the

basis, amount, and reasonableness of the fees. Id. at 574.

      In this case, the District Court was within its discretion to deny a Rule 11

motion without providing explanation as to why sanctions would not be

implemented. Case law suggests that such explanations need only be written when

sanctions are being imposed, not denied. As such, a denial to impose sanctions

should not necessarily correlate with an abuse of discretion. Thus, the district court

did not abuse its discretion by denying Appellees’ Rule 11 motion and refusing to

consider Appellant’s Rule 11 motion.

                                   CONCLUSION

      Based upon the foregoing, Respondents respectfully request that this Court

deny each of the Appellant’s claims and affirm the ruling of the District Court for

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the Central District of California.




Dated: March 21, 2024                 CITY ATTORNEY’S OFFICE –
                                      CITY OF RIVERSIDE

                                      By: /s/ Cecilia Rojas
                                        Cecilia Rojas,
                                        Deputy City Attorney




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    CERTIFICATE OF COMPLIANCE WITH FRAP 32(A)(7)(B) AND

                             CIRCUIT RULE 32-1

      I, Cecilia Rojas, hereby certify that the foregoing APPELLEE’S

ANSWERING BRIEF is doubled spaced and utilizes a proportionately spaced 14-

point Times New Roman typeface. This brief comprises of a total of 10,267 words,

as calculated by the Microsoft Word word-processing system, how it was prepared.



Respectfully Submitted,

Dated: March 21, 2024                 CITY ATTORNEY’S OFFICE –
                                      CITY OF RIVERSIDE

                                      By: /s/ Cecilia Rojas
                                        Cecilia Rojas,
                                        Deputy City Attorney




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                          CERTIFICATE OF SERVICE

      I, Cecilia Rojas, hereby certify that on March 21, 2024, I caused to be filed

the foregoing APPELLEE’S ANSWERING BRIEF electronically transmitted with

the Clerk of the Court for the United States Court of Appeals for the Ninth Circuit

by using the appellate CM/ECF system. I certify that all the participants in the case

are registered CM/ECF users and that service will be accomplished by the

appellate CM/ECF system.


Respectfully Submitted,

Dated: March 21, 2024                  CITY ATTORNEY’S OFFICE –
                                       CITY OF RIVERSIDE

                                       By: /s/ Cecilia Rojas
                                         Cecilia Rojas,
                                         Deputy City Attorney




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